 Case 2:21-cv-02584-SB-JC Document 38 Filed 11/16/21 Page 1 of 1 Page ID #:718


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                         UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA

                             CIVIL MINUTES - GENERAL


Case No.: 2:21-cv-02584-SB-JC                                 Date:    11/16/2021


Title:    Mo Rahman v. FCA US LLC et al.


Present: The Honorable       STANLEY BLUMENFELD, JR., U.S. District Judge
                  Victor Cruz                                       N/A
                  Deputy Clerk                                 Court Reporter

    Attorney(s) Present for Plaintiff(s):           Attorney(s) Present for Defendant(s):
                      N/A                                             N/A

Proceedings:       ORDER OF DISMISSAL

         Both parties filed status reports on the execution of the parties’ settlement
  agreement indicating that the settlement will be fully executed within the next 60
  to 90 days. Dkt. Nos. 35, 37. This action is therefore dismissed in its entirety
  without prejudice. For 90 days from the date of this order, the Court retains
  jurisdiction to vacate this order and to reopen the action nunc pro tunc on motion
  of any party. Any such motion shall include a detailed declaration of due
  diligence, including a detailed timeline of all efforts and obstacles in attempting to
  complete the settlement. The party seeking to reopen should expect to appear
  before the Court with appropriate witnesses knowledgeable about the facts giving
  rise to the motion to reopen. By operation of this order and without further court
  action, the dismissal in this case will convert to a dismissal with prejudice on the
  91st day, absent a timely motion to vacate and reopen. If the case is reopened, the
  parties should be prepared for an expedited trial schedule.




  CV-90 (12/02)                     CIVIL MINUTES – GENERAL           Initials of Deputy Clerk VPC

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